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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ADVANCED DYNAMIC INTERFACES,
LLC,

               Plaintiff,
                                                        Civil Action No.: 14-906-GMS
       v.

MICROSOFT CORPORATION

               Defendants.



        SECOND DECLARATION OF THEODORE WIMSATT IN SUPPORT OF
                MICROSOFT’S MOTION TO TRANSFER VENUE



       I, Theodore Wimsatt, declare as follows:

       1.      I am an attorney at the law firm of Perkins Coie, LLP, resident in Phoenix,

Arizona, and representing Microsoft Corporation in this case. I have personal knowledge of the

facts set forth below.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the web page

http://msdn.microsoft.com/en-us/vstudio/cc136611.aspx retrieved on January 2, 2015.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the web page

http://msdn.microsoft.com/en-us/vstudio/htmlclient retrieved on January 2, 2015.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a document titled

“OutSystems® Platform Business Process Technology” retrieved from

http://www.outsystems.com/res/AgilePlatformBPTOverviewDataSheet on January 2, 2015.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of the web page

http://www.ironspeed.com/products/Overview.aspx retrieved on January 2, 2015.
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       I declare under penalty ofperjury that the foregoing is true and correct. Executed on

January 5,2015, in Phoenix, Arizona.




Date: January 5,2015
                                                                 Theodore Wimsatt




                                                 1
